          Case 4:13-cr-00057-BSM       Document 47      Filed 07/02/15    Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

v.                             CASE NO. 4:13CR00057 BSM

CHRISTOPHER RYAN BARRON                                                       DEFENDANT

                                  AMENDED JUDGMENT

          The February 26, 2014, judgment [Doc. No. 34] is amended to strike Special

Condition of Supervision No. 1, which requires defendant Christopher Barron to submit to

electronic monitoring, because he has completed six months in a residential treatment and

chemical free living center. All other portions of the judgment remain in full force and

effect.

          The clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

           IT IS SO ORDERED this 2nd day of July 2015.


                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
